Case 2:20-cv-00816-SDW-LDW Document1 Filed 01/24/20 Page 1 of 8 PagelD: 1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor suppenient the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

TrBBu Rendon Hund, et al NOR SS MEOAS Int.

JS 44 (Rev. 06/17)

 

(b) County of Residence of First Listed Plaintiff Union County _ —_
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (Jf Known)
Susan A. Murray, Esq. - Freedman & Lorry, P.C.
1601 Market St., Suite 1500, Philadelphia, PA 19103

smurray@freedmanlorry.com, (215) 931-2506

 

 

Il. BASIS OF JURISDICTION (Place an "x" in One Box Only) IL. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
© 1. US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 OG 1 Incorporated or Principal Place o4 o4
of Business In This State
O 2. U.S. Government O 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os5 a5
Defendant (Indicate Citizenship of Parties in lrem IL] of Business In Another State
Citizen or Subject ofa O03 O 3 Foreign Nation o6 O86
Foreign Country

 

 

IV. NATURE OF SUIT (Ptace an “x” in One Box Only)

 

Click here for: Nature of Suit Code Descriptions.
BANKRUPTCY OTHER STATUTES ]

 

 

 

 

 

 

 

 

 

 

 

[ CONTRACT TORTS FORFEITURE/PENALTY
© 110 Insurance PERSONAL INJURY PERSONALINJURY |) 625 Drug Related Seizure © 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 0 376 Qui Tam (31 USC
© 130 Miller Act © 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729%a))
© 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
G 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 0 430 Banks and Banking
O 151 Medicare Act 1 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deponation
Student Loans © 340 Marine Injury Product New Drug Application {0 470 Racketeer Influenced and
(Excludes Veterans) OG 345 Marine Product Liability O 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY © 480 Consumer Credit
of Veteran's Benefits © 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) © 490 Cable/Sat TV
6 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act OF 862 Black Lung (923) © 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
195 Contract Product Liability | 360 Other Personal Property Damage Relations 7 864 SSID Title XVI © 890 Other Statutory Actions
0 196 Franchise Injury 0) 385 Property Damage © 740 Railway Labor Act O 865 RSI (405(g)) © 891 Agricultural Acts
© 362 Personal Injury - Product Liability O 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _]0 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: (& 791 Employee Retirement O 870 Taxes (U.S. Plaintiff OF 896 Arbitration
220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) © $99 Administrative Procedure
O 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party ActuReview or Appeal of
0 240 Tons to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations O 530 General O 950 Constitutionality of
© 290 All Other Real Property © 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O) 462 Naturalization Application
0 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other © 550 Civil Rights Actions
0 448 Education ©) 355 Prison Condition
OF 360 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

3X1 Orginal o2
Proceeding

o 3 11 4 Reinstated or

Reopened

O 6 Multidistrict
Litigation -
Transfer

1 8 Multidistrict
Litigation -
Direct File

Remanded from
Appellate Court

Removed from
State Court

O 3 Transferred from
Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

29 USC 1132 and 1145

Brief description of cause:

Collection of contractually obligated contributions owed to the benefit funds
QO CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:

VI. CAUSE OF ACTION

 

VII. REQUESTED IN

 

 

 

  

COMPLAINT: UNDER RULE 23, F.R.CvP. JURY DEMAND: 1 Yes RINo
VII. RELATED CASE(S)

IF ANY (See MSTNCNONSS TG £ / DOCKET NUMBER
DATE Al ra RE OF ATTORNEY OF ECORD
01/24/2020

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT JUDGE

(

APPLYING IFP MAG, JUDGE
Case 2:20-cv-00816-SDW-LDW Document1 Filed 01/24/20 Page 2 of 8 PagelD: 2

FREEDMAN AND LORRY, P.C.

BY: SUSAN A. MURRAY, ESQUIRE
(SM-7713)

1601 Market Street, Suite 1500
Philadelphia, PA 19103

(215) 931-2506

Attorneys for Plaintiffs

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

ITPEU PENSION FUND, by and through its Board : CIVIL ACTION
of Trustees, Co-Chairmen DENNIS ARRINGTON :

and JERRY BOWDEN

216 North Ave. East, 2nd Fl.

Cranford, NJ 07016

and

ITPEU HEALTH AND WELFARE FUND, by and :
Through its Board of Trustees, Co-Chairmen
DENNIS ARRINGTON and HAROLD GELBER
P.O. Box 13817

Savannah, GA 31416

Plaintiffs,
Vv.
NSR SOLUTIONS, INC.
702 Russell Ave., Suite 305
Gaithersburg, MD 20877
Defendant
COMPLAINT

Plaintiffs, by undersigned counsel, complain about Defendant as follows:
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JURISDICTION
1. This Court has jurisdiction over the subject matter of this action under LMRA 29
U.S.C. §185(a), ERISA 29 U.S.C. § 1132 and 29 U.S.C. §1145 and the pendent jurisdiction of the
Court.
2. A copy of this Complaint has been served on the Secretary of Labor and the

Secretary of Treasury of the United States by certified mail.

VENUE
3, Venue lies in the United States District Court for the District of New Jersey under
29 U.S.C. §§ 185(a) or 1132(e)(2).
PARTIES

4, Plaintiff ITPEU Pension Fund by and through its Board of Trustees, Co-Chairmen
Dennis Arrington and Jerry Bowden (“Pension Fund”) is a trust fund established under 29 U.S.C.
§ 186(c)(5) and “multiemployer plans” and “employee benefit plans” within the meaning of 29
U.S.C. § 1002(37), (2)(A) and (3). Dennis Arrington, and Jerry Bowden are trustees and
fiduciaries with respect to the Pension Fund within the meaning of 29 U.S.C.§ 1002(21). They are
authorized to bring this action on behalf ofall Trustees of the Pension Fund. The Pension Fund is
administered in the District of New Jersey.

5. ITPEU Health and Welfare Fund by and through its Board of Trustees, Co-
Chairmen Dennis Arrington and Harold Gelber (“Welfare Fund” hereinafter collectively called the
Funds”), is a trust funds established under 29 U.S.C. § 186(c)(5) and “multiemployer plans” and
“employee benefit plans” within the meaning of 29 U.S.C. § 1002(37), (1) and (3). Dennis

Arrington and Harold Gelber are trustees and fiduciaries with respect to the Welfare Fund within
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the meaning of 29 U.S.C.§ 1002(21). They are authorized to bring this action on behalf of all
Trustees of the Welfare Fund. The Welfare Fund has a business address as listed in the captioned.

6. Defendant NSR Solutions, Inc. (hereinafter or “the Employer’) is an employer in
an industry affecting commerce with the meaning of 29 U.S.C. §§ 152 (2), (6) and (7), 1002(5),

(11) and (12) with a business address as listed in the caption.

FACTS
7. At all times relevant to this action, the Employer was a party to a collective
bargaining agreement(s) with the ITPEU, OPEIU Local 4873, AFL-CIO (singly or jointly, “Labor
Contract”). A copy of the Labor Contract is attached as Exhibit “1.”
8. The Employer also signed or agreed to abide by the terms of the Declarations of
Trust of the Funds as from time to time amended (“Trust Agreement”) made between certain
employers and employee representatives in an industry(ies) affecting interstate commerce to
promote stable and peaceful labor relations.
9. Under the Labor Contract or Trust Agreement, the Employer agreed:
(a) To make full and timely payments on a monthly basis to the Funds as required
by the Labor Contract or Trust Agreement;
(b) To file monthly remittance reports with the Funds detailing all employees or
work for which contributions were required under the Labor Contract or Trust Agreement;
(c) To produce, upon request by the Funds, all books and records deemed necessary

to conduct an audit of the Employer’s records concerning its obligations to the Funds; and
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(d) To pay liquidated damages and all costs of litigation, including attorneys’ fees,
expended by the Funds to collect any amounts due as a consequence of the Employer’s failure to
comply with its contractual obligations described in Subparagraphs (a), (b) and (c).

10. Employer was selected for a random compliance audit for the period from January
1, 2016 to December 31, 2018. Employer provided documents to conduct the payroll review of
records to determine whether Employer was submitting contributions in accordance with the terms
of the collective bargaining agreement. According to the audit report, i.e. payroll review, the
Pension Fund was owed $17,977.84 and the Welfare Fund was owed $50,893.79 in contributions.
A true and correct copy of the audit report is hereto attached as Exhibit 2.

11. Employer also owes $19,003.75 in audit fees under the Funds Trust Agreements,
which provides that an employer is liable for the audit fees incurred by the Funds for the payroll
compliance examination if the Employer fails to remit at least 98% of the required contributions
or is delinquent in excess of $10,000 for the audited period, and 29 U.S.C. §1132(g)(2). In this
case, the Employer owes each Fund in excess of $10,000.00.

12. OnNovember 18, 2019, a demand letter was sent, enclosing a copy of the audit. A
true and correct copy of the letter is attached as Exhibit 3.

13. On December 4, 2019, Employer contacted Fund Counsel to review and dispute the
audit results, requesting an extension to early January 2020 to identify and submit documentation
of the dispute.

14. On January 10, 2020, Fund Counsel sent a follow-up letter to Employer that as of
that date no documentation disputing the amounts in the audit report had been provided. Fund

Counsel gave Employer a final extension to January 20, 2020 to submit documentation of the
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disputed amounts. A true and correct copy of the January 10, 2020 letter is hereto attached as
Exhibit 4.

15. As ofthe date of filing of this Complaint, Employer has not responded to any further
contact from Fund Counsel, nor has the outstanding amounts in the audit been paid.

COUNT I
CONTRIBUTIONS UNDER CONTRACT — SUM CERTAIN

16. The allegations of Paragraphs 1 through 15 are incorporated by reference as if fully
restated. The Employer owes the Pension Fund at least $17,977.84 in contributions due under the
Labor Contract as revealed in the payroll audit.

17. The Employer owes the Welfare Fund at least $50,893.79 in contributions due
under the Labor Contract as revealed in the payroll audit.

18. The Employer also owes the Funds $19,003.75 in audit fees due under 29 U.S.C.
§1132(g)(2) and the Trust Agreement.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against the Employer and in favor of the Pension Fund for at least
$17,977.84 and in favor of the Welfare Fund for at least $50,893.79, plus any delinquencies
incurred during the pendency of this action, together with liquidated damages, interest and costs,
including audit fees in the amount of $19,003.58 and reasonable attorneys’ fees incurred in this
action or the collection or enforcement of any judgment as provided in the Labor Contract or Trust
Agreement.

(2) Grant such other or further relief, legal or equitable, as may be just, necessary or

appropriate.
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COUNT II

CONTRIBUTIONS UNDER ERISA —- SUM CERTAIN

19. The allegations of Paragraph 1 through 18 are incorporated by reference as if fully
restated.

20. The Employer has failed to pay contributions to the Funds in violation of 29 U.S.C.

§ 1145.

21. The Employer owes the Pension Fund at least the sum of $17,977.84 as well as the
Welfare Fund at least the sum of $50,893.79 in contributions, plus interest and liquidated damages
due under the Labor Contract as revealed in the payroll audit.

22. The Employer also owes the Funds $19,003.75 in audit fees due under 29 U.S.C.
1132(g)(2) and the Trust Agreement.

WHEREFORE, Plaintiffs ask that the Court:

(1) Enter judgment against the Employer and in favor of the Pension Fund for at least
$17,977.84 and in favor of the Welfare Fund for at least $50,893.79, plus any additional
contributions incurred during the pendency of this action, together with interest, liquidated
damages provided by the documents governing the Funds or ERISA 29 U.S.C. §1132(g)(2) and
reasonable attorneys’ fees and costs incurred in this action or the collection or enforcement of any

judgment, including audit fees in the amount of $19,003.75.
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(2) Grant such other or further relief, legal or equitable, as may be just, necessary or
appropriate.
Respectfully submitted,

FREEDMAN AND LORRY, P.C.

SUSAN A. MURRAY, ESQ
Attorneys for Plaintiffs

Date: January 23, 2020
